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                    UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF PUERTO RICO


   IN RE: JORGE RABELL REYES &                                  CASE NO.18-05104-BKT7
   LISANDRA MERCADO TORRES
                                                                CHAPTER 7
                DEBTOR(S)

                           NOTICE OF FILING AMEDED PLAN

    TO ALL CREDITORS AND PARTIES IN INTEREST:

           Notice is hereby given that Debtors filed a Chapter 13 Amended Plan dated
    January 25, 2019.

            Parties in interest are hereby granted twenty-one (21) days from the date of
    notice to oppose the motion and request a hearing. If no opposition is filed within
    the prescribed period, the Court will enter an order granting the motion upon the
    filing of a certificate by the movant that adequate notice was given. Should an
    opposition be timely filed the Court will schedule the motion for a hearing as
    contested matter.


    I HEREBY CERTIFY that on this same date, I electronically filed the foregoing with
    the Clerk of the Court using the CM/ECF Filing System which will send a notification,
    upon information and belief, of such filing to the Chapter 13 Trustee; and to all
    subscribed users. We will serve by regular mail this document to any creditor as per
    master address list upon knowing that they are non-CM/ECF participants.

    Respectfully Submitted;

           In Guayanilla, Puerto Rico, this January 25, 2019.



                                        /S/ PABLO I. CABRERA VARGAS
                                        USDC PR # 216805
                                        HC-1 BOX 9378
                                        Guayanilla, Puerto Rico 00656
                                        Tel. (787) 201-0183
                                        E-mail: picabreravargas@gmail.com




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                                      UNITED STATES BANKRUPTCY COURT
                                      District of Puerto Rico, San Juan Division
In Re                                                                             Case No:
RABELL REYES, JORGE & MERCADO TORRES, LISANDRA
                                                                                  Chapter 13

XXX-XX-8543                                                                       [ ] Check if this is a pre-confirmation amended
                                                                                  plan.
XXX-XX-1734
                                                                                  [ ] Check if this is a post confirmation amended
                                                                                  plan
Puerto Rico Local Form G                                                             Proposed by:
                                                                                          [ ] Debtor(s)
                                                                                          [ ] Trustee
Chapter 13 Plan dated          11/10/2018                                                 [ ] Unsecured creditor(s)

                                                                                  [ ] If this is an amended plan, list below the
                                                                                  sections of the plan that have been changed.




PART 1 Notices

To Debtors:         This form sets out options that may be appropriate in some cases, but the presence of an option on the
                form does not indicate that the option is appropriate in your circumstances or that it is permissible in your
                judicial district. Plans that do not comply with local rules and judicial rulings may not be confirmable.

                In the following notice to creditors, you must check each box that applies.

To Creditors:   Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
                do not have an attorney, you may wish to consult one. The headings contained in this plan are inserted for
                reference purposes only and shall not affect the meaning or interpretation of this plan.

                If you oppose the plan’  s treatment of your claim or any provision of this plan, you or your attorney must file
                an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
                otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if
                no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in
                order to be paid under this plan, unless ordered otherwise.

                If a claim is withdrawn by a creditor or amended to an amount less than the amount already disbursed under the
                plan on account of such claim : (1) The trustee is authorized to discontinue any further disbursements to related
                claim; (2) The sum allocated towards the payment of such creditor ’   s claim shall be disbursed by the trustee to
                Debtor’  s remaining creditors. (3) If such creditor has received monies from the trustee (Disbursed Payments), the
                creditor shall return funds received in excess of the related claim to the trustee for distribution to Debtor ’
                                                                                                                              s remaining
                creditors. (4) If Debtor has proposed a plan that repays his or her creditors in full, funds received in excess of the
                related claim shall be returned to the Debtor.

                The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether
                or not the plan includes each of the following items. If an item is checked as “
                                                                                               Not included”or if both boxes are
                checked, the provision will be ineffective if set out later in the plan.


 1.1   A limit on the amount of a secured claim, set out in Section 3.2, which may               [ ] Included     [X] Not included
       result in a partial payment or no payment at all to the secured creditor

 1.2   Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                 [ ] Included     [X] Not included
       interest, set out in Section 3.4
 1.3   Nonstandard provisions, set out in Part 8                                                 [ ] Included     [X] Not included

PART 2: Plan Payments and Length of Plan

2.1 Debtor(s) will make payments to the trustee as follows:



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PMT Amount          Period(s)       Period(s) Totals     Comments
363.00              13              4,719.00
815.00              8               6,520.00
1,142.00            39              44,538.00
   Subtotals        60              55,777.00
Insert additional lines if needed

    If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make
    the payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:

    Check all that apply.
    [ ] Debtor(s) will make payments pursuant to a payroll deduction order.
    [X] Debtor(s) will make payments directly to the trustee.
    [ ] Other (specify method of payment):

2.3 Income tax refunds:

    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
    and will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such “Tax Refunds,”Debtor(s) shall
    seek court authorization prior to any use thereof.

2.4 Additional payments:

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 2.4 need not be completed or reproduced.


PART 3: Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

    Check one.
[X] None. If “
             None”is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

    Check one.

    [X] None. If “
                 None”is checked, the rest of § 3.2 need not be completed or reproduced.


3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien Avoidance.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 3.5 need not be completed or reproduced.

    [X] The Debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’
                                                                                                               s claim. The Debtor(s)
        request that upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that
        the stay under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the
        collateral will be treated in Part 5 below.

Name of creditor                                                    Collateral



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BIO PHARMA COOP                                                      BIOPHARMA COOP
BIO PHARMA COOP                                                      BIOPHARMA COOP
JAYUCOOP                                                             JAYUCOOP ACCOUNT
SCOTIABANK OF PUERTO RICO                                            URB. LA ANTIGUA, CALLE VIA MAYORCA LA-2 TRUJILLO ALTO, PR , TRUJ
Insert additional lines as needed.

3.6 Pre-confirmation adequate protection monthly payments (“
                                                           APMP”) to be paid by the trustee.
    [ ] Payments pursuant to 11 USC §1326(a)(1)(C):
Name of secured creditor                $ Amount of APMP                     Comments
None
Insert additional lines as needed.

    Pre-confirmation adequate protection payments made through the plan by the trustee are subject to the corresponding statutory
    fee.

3.7 Other secured claims modifications.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.7 need not be completed or reproduced.

PART 4: Treatment of Fees and Priority Claims

4.1 General

         Trustee’ s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be
         paid in full without postpetition interest.

4.2 Trustee’s fees
        Trustee’s fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation
        purposes to be 10 % of all plan payments received by the trustee during the plan term.

4.3 Attorney’
            s fees

    Check one.

         [X] Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee for their legal services, up to the plan
         confirmation, according to LBR 2016-1(f).

    OR

         [ ] Fee Application: The attorneys’    fees amount will be determined by the court, upon the approval of a detailed
         application for fees and expenses, filed not later than 14 days from the entry of the confirmation order.

                      Attorney’  s fees paid pre-petition:                                            $ 1,500.00
                      Balance of attorney’   s fees to be paid under this plan are estimated to be:   $ 1,500.00
                      If this is a post-confirmation amended plan, estimated attorney ’  s fees:      $ 0.00


4.4 Priority claims other than attorney’
                                       s fees and those treated in §§ 4.5, 4.6.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.5 need not be completed or reproduced.

4.6 Post confirmation property insurance coverage

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.6 need not be completed or reproduced.

PART 5: Treatment of Nonpriority Unsecured Claims



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5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked,
    the option providing the largest payment will be effective.

    Check all that apply.

    [ ] The sum of $             .

    [ ]            % of the total amount of these claims, an estimated payment of $           .

    [X] The funds remaining after disbursements have been made to all other creditors provided for in this plan.

    [ ] If the estate of the Debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $
        .

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 5.3 need not be completed or reproduced.

PART 6: Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
    contracts and unexpired leases are rejected.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 6.1 need not be completed or reproduced.

    [X] Assumed items. Current installment payments will be disbursed either by the trustee or directly by the Debtor(s), as
        specified below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final
        column includes only payments disbursed by the trustee rather than by the Debtor(s).

Name of creditor                       Description of leased       Current installment   Amount of       Treatment     Estimated
                                       property or executory       payment               arrearage to    of            total
                                       contract                                          be paid         arrearage     payments by
                                                                                                         (Refer to     trustee
                                                                                                         other plan
                                                                                                         section if
                                                                                                         applicable)
LUIS E SABATHIE                        HOUSE LEASE                 1,450.00              0.00                          0.00

                                                                   Disbursed by:
                                                                   [ ] Trustee
                                                                   [X] Debtor(s)
Insert additional lines as needed.

PART 7: Vesting of Property of the Estate & Plan Distribution Order

7.1 Property of the estate will vest in the Debtor(s) upon

    Check the applicable box:

    [X] Plan confirmation.
    [ ] Entry of discharge.
    [ ] Other:

7.2 Plan distribution by the trustee will be in the following order:
    (The numbers below reflect the order of distribution; the same number means prorated distribution among claims with the same
    number.)



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      1. Distribution on Adequate Protection Payments (Part 3, Section 3.6)
      1. Distribution on Attorney’ s Fees (Part 4, Section 4.3)
      1. Distribution on Secured Claims (Part 3, Section 3.1) –Current contractual installment payments
      2. Distribution on Post Confirmation Property Insurance Coverage (Part 4, Section 4.6)
      2. Distribution on Secured Claims (Part 3, Section 3.7)
      2. Distribution on Secured Claims (Part 3, Section 3.1) –Arrearage payments
      3. Distribution on Secured Claims (Part 3, Section 3.2)
      3. Distribution on Secured Claims (Part 3, Section 3.3)
      3. Distribution on Secured Claims (Part 3, Section 3.4)
      3. Distribution on Unsecured Claims (Part 6, Section 6.1)
      4. Distribution on Priority Claims (Part 4, Section 4.4)
      5. Distribution on Priority Claims (Part 4, Section 4.5)
      6. Distribution on Unsecured Claims (Part 5, Section 5.2)
      6. Distribution on Unsecured Claims (Part 5, Section 5.3)
      7. Distribution on General Unsecured claims (Part 5, Section 5.1)

      Trustee’
             s fees are disbursed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2).

PART 8: Nonstandard Plan Provisions

8.1       Check “None”or list the nonstandard plan provisions

[X] None. If “
             None”is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

Each paragraph below must be numbered and labeled in boldface type, and with a heading stating the general subject
matter of the paragraph.

The following plan provisions will be effective only if there is a check in the box “
                                                                                    Included”in § 1.3.

Insert additional lines as needed.

PART 9: Signature(s)


/s/ Pablo I. Cabrera                                                                    Date November 10, 2018
Signature of attorney of Debtor(s)

/s/ JORGE RABELL REYES                                                                  Date November 10, 2018

/s/ LISANDRA MERCADO TORRES                                                             Date November 10, 2018
Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise
optional)


By filing this document, the attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
certify(ies) that the wording and order of the provisions in this chapter 13 plan are identical to those contained in Local
Form G (LBF-G), other than any nonstandard provisions included in Part 8.




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